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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:20−cr−00352
                                                          Honorable Steven C. Seeger
Samuel Uchenna Aniukwu, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 10, 2024:


        MINUTE entry before the Honorable Steven C. Seeger as to Samuel Uchenna
Aniukwu: Status hearing held on April 10, 2024. The Court will set a sentencing hearing
date after the co−defendant's trial, which begins on June 17, 2024. Mailed notice. (jjr, )




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